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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  OXFORD DIVISION

COREY HOLLAND                                                                             PETITIONER

v.                                                                        No. 3:20-CV-00259-GHD-RP

MDOC                                                                                     RESPONDENT



                           ORDER DIRECTING STATE TO RESPOND

        Corey Holland has filed a petition for relief under 28 U.S.C. § 2254. It is ORDERED:

1.      That no later than December 30, 2020, respondent, through Lynn Fitch, Attorney General of

the State of Mississippi, file an answer to this action, along with full and complete transcripts of all

proceedings in the state courts of Mississippi arising from the charges of aggravated assault violation

of probation for failure to report in excess of 1 year (ascending); commit new felony offense against

the laws of the State of Mississippi against the petitioner in the Circuit Court of Lafayette County,

Mississippi (to the extent such are relevant to the State’s response).

2.      That within 14 days of service upon him of a copy of respondent's answer, petitioner may file

his traverse or reply to the allegations contained in such answer.

3.      The clerk of this court will serve by email (Return Receipt, High Importance) a copy of the

petition, this order, acknowledgment of service of process form, and any other initial filings, upon

Lynn Fitch, Attorney General of the State of Mississippi, or her lawful successor, to Assistant

Attorneys General Jerrolyn Owens and Bridgette Grant. The respondent must electronically file the

completed acknowledgment of service of process form upon receipt.
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        Petitioner is warned that failure to keep this court informed of his current address could lead to

dismissal of his lawsuit.

        SO ORDERED, this, the 16th day of October, 2020.



                                                         /s/ Roy Percy
                                                         UNITED STATES MAGITRATE JUDGE
